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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

KEITH EDWARDS as Guardian and                )
Conservator Jerry Blasingame,                )
                                             )      CIVIL ACTION FILE NO.
                                             )      1:19-CV-2047-SCJ
              Plaintiff,                     )
                                             )
v.                                           )
                                             )
                                             )
OFFICER J. GRUBBS, #6416,                    )
and CITY OF ATLANTA,                         )
                                             )
              Defendants.                    )

 DEFENDANT CITY OF ATLANTA’S MOTION FOR JUDGMENT AS A
   MATTER OF LAW PURSUANT TO FEDERAL RULES OF CIVIL
          PROCEDURE 50 AND BRIEF IN SUPPORT

       COMES NOW Defendant City of Atlanta hereinafter referred to as

 (“Defendant”), pursuant to Fed. R. Civ. Pro. 50, and files this, its Motion

 for Judgment as a Matter of Law and Brief in Support, and shows this Court the

 following:

                            STATEMENT OF FACTS

      On July 10, 2018, City of Atlanta Police Department (“APD”) Officers

 Grubbs and Keith Shelley observed Plaintiff on Interstate 20 East, an interstate

 highway, at or near the Windsor Street exit. At the time, both officers were on duty



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and patrolling in the City of Atlanta. Plaintiff was believed, by the officers, of

panhandling. Defendant Grubbs attempted to arrest Plaintiff. Plaintiff ran and

Defendant Grubbs pursued Plaintiff on foot. Eventually, Defendant Grubbs was

able to get close to Plaintiff. Plaintiff, however, attempted to evade Defendant

Grubbs further by using a backward swinging motion toward Defendant Grubbs.

Defendant Grubbs then deployed his conducted Conducted Electrical Weapon

(“Taser”) and fired the Taser’s two darts into Plaintiff’s back. Plaintiff fell down

a slight incline that was hidden from Defendant Grubbs’ view and into a large

power box sitting on a cement foundation.         Plaintiff was severely injured.

Defendant Grubbs and Shelley called for medical assistance and Plaintiff was taken

to Grady by ambulance. Plaintiff was eventually arrested and charged with

violating O.C.G.A. § 17-4-46 (Willful Obstruction of Law Enforcement Officers)

and 40-6-97 (Pedestrian Soliciting Rides/Business).

          City of Atlanta Police Department Policies and Procedures

      The policies, procedures and customs promulgated by the APD were

specifically designed to promote the public welfare and safety by managing

and training its police officers. As demonstrated by the testimony and evidence,

it has been the policy of APD to provide its officers with a training program that

includes certification of current skills, improving and updating of skills,

development of new skills and awareness of new techniques that are consistent


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with state standards. The APD requires all officers to complete a Georgia Peace

Officer’s Standards and Training Council (“P.O.S.T.”) mandate training and

to receive P.O.S.T. certification. When Defendant Grubbs was hired and began

his training at APD’s Academy, the mandate training courses included the

following: Georgia criminal law and criminal procedure; peace officer

liability; firearms; and use of force, which included lessons on restraint and how

to use the appropriate level of force when conducting an arrest. APD requires

all officers to complete at least forty (40) hours of in-service training annually,

twice the number of hours required to maintain P.O.S.T. certification.

      Per the testimony of Officers Banja and Kramer, APD has been Council

for Accreditation of Law Enforcement (“CALEA”) accredited for several years-

which means the APD’s officers are required to have ongoing, mandatory use of

force training. APD also follows up with officer training by conducting audits and

in-service training throughout the year. The audits track officer training to

determine what training they have had and what training they need. These audit

records are maintained by APD’s Academy.

Grubbs’ Training:

     The following is a list of classes and associated dates in which Grubbs

participated and completed training. (Defendants’ Trial Ex. “1”). The list goes

through 2019.



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2014:

Security and Integrity of CHRI                                Dec. 1, 2014
Basic Law Enforcement Training Course                         Dec. 11, 2014
Extended Basic (Atlanta PD)                                   Dec. 11, 2014

2015:

Atlanta Annual Inservice Training                             Aug. 10, 2015
CJIS Network Operator Training                                Aug. 11, 2015
Security and Integrity of CHRI                                Aug. 11, 2015
Defensive Tactics                                             Aug. 11, 2015
Leadership                                                    Aug. 12, 2015
Firearms Requal & Use of Deadly Force                         Sept. 14, 2015
Overview of Post Council                                      Oct. 14, 2015

2016:

Atlanta Annual Inservice Training                             March 23, 2016
Taser Recertification                                         March 23, 2016
Active Shooter Response                                       March 24, 2016
Officer Survival                                              March 24, 2016
Firearms Requal & Use of Deadly Force                         Aug. 15, 2016

2017:

Community Policing                                            June 12, 2017
Atlanta Annual Inservice Training                             June 12, 2017
Officer Survival                                              June 13, 2017
Taser Recertification                                         June 13, 2017
Body Camera                                                   July 12, 2017
Firearms Requal & Use of Deadly Force                         Aug. 31, 2017
Back-Up Weapon Qualification                                  Sept. 1, 2017
Tactical Team Operations                                      Oct. 17, 2017
Narcan                                                        Nov. 14, 2017
Use of Force & De-Escalation Options for Gaining Compliance   Nov. 16, 2017
Suspicious Activity Reporting                                 Dec. 6, 2017




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2018:

Human Trafficking                                             Jan. 20, 2018
De-Escalation Techniques                                      March 30, 2018
Firearms Training (Not Requalification)                       March 30, 2018
Community Policing                                            April 25, 2018
Atlanta Annual Inservice Training                             April 25, 2018
Taser Recertification                                         April 25, 2018
Officer Survival                                              April 26, 2018
Field Investigations                                          May 25, 2018
Intro to Terrorism (GPSTC Online)                             Aug. 15, 2018
Firearms Requal & Use of Deadly Force                         Sept. 5, 2018
Legal Update                                                  Sept. 17, 2018
Eyewitness Identification (GPSTC Online)                      Oct. 2, 2018
Law Enforcement & Animal Encounters (GPSTC Online)            Oct. 3, 2018
Vehicle Pullovers (GPSTC Online)                              Oct. 9, 2018
Due Regard (GPSTC Online)                                     Oct. 22, 2018
Family Violence                                               Oct. 29, 2018
Introduction to Human Trafficking (Atlanta PD Academy)        Dec. 5, 2018

2019:

De-Escalation Options for Gaining Compliance                  Feb. 19, 2019
Use of Force                                                  Feb. 20, 2019
Cultural Awareness                                            March 3, 2019
Atlanta Annual Inservice Training                             March 6, 2019
Taser Recertification                                         March 6, 2019
Firearms Training (Not Requalification)                       March 18, 2019
Ambush Survival Tactics                                       March 26, 2019
Firearms Requal & Use of Deadly Force                         Aug. 29, 2019
Back-Up Weapon Qualification                                  Dec. 5, 2019

                    CLAIMS ALLEGED BY PLAINTIFF

        Plaintiff alleges a violation of the Fourth a n d       Fourteenth

Amendments of      the United States Constitution based on Grubbs’ alleged

unreasonable use of force with a Taser that proximately caused Plaintiff to fall


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and injure himself. (Plt’s Amended Compl. ¶¶ 34-37). Plaintiff also contends

that APD was the moving force behind Grubbs’ use of excessive force because of

its practices, customs and polices. (Plt’s Amended Compl. ¶ 38). Lastly,

Plaintiff alleges that APD’s “failure to      train” Grubbs can be construed as

deliberate indifference.   (Plt’s Amended Compl. ¶ 8).Even when viewing the

evidence in the light most favorable to Plaintiff, Defendants’ Motion must

prevail. Plaintiff cannot prove every essential element of any claim. Therefore,

Defendants’ Motion should be granted as a matter of law.

                           STANDARD OF REVIEW

      Rule 50 of the Federal Rules of Civil Procedure, based on the facts

established at trial, entitles Defendant City of Atlanta to judgment as a matter of

law. Rule 50 states in relevant part:

      (a) Judgment as a Matter of Law.
          (1) In General. If a party has been fully heard on an issue during
              a jury trial and the court finds that a reasonable jury would
              not have a legally sufficient evidentiary basis to find for the
              party on that issue, the court may:
              (A)Resolve the issue against the party; and
              (B) Grant a motion for judgment as a matter of law against
                  the party on a claim or defense that, under the controlling
                  law, can be maintained or defeated only with a favorable
                  finding on that issue.
          (2) Motion. A motion for judgment as a matter of law may be
              made at any time before the case is submitted to the jury.
              The motion must specify the judgment sought and the law
              and facts that entitle the movant to the judgment.



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               ARGUMENT AND CITATION OF AUTHORITY

     I.     Plaintiff Cannot Prove Sufficient Facts To Establish A Claim
            Against City of Atlanta For Defective Customs, Training, And
            Policies As To The Use Of Force And the Use Of Conducted
            Electrical Weapons (“Taser”).

      To impose section 1983 liability on a municipality, Plaintiff must show

that: (1) a constitutional right was violated; (2) the municipality had a custom,

practice, or policy that constituted deliberate indifference to that constitutional

right; and (3) the municipality’s custom, practice or policy caused the violation.

City of Canton v. Harris, 489 U.S. 378, 388 (1989); Perez v. Miami-Dade County,

168 F. App’x 338, 340 (11th Cir. 2006). (Emphasis added). Plaintiff’s evidence

at trial is insufficient to meet his burden under the standard articulated in City of

Canton.    A policy is defined as “a decision that is officially adopted by the

municipality, or created by an official of such rank that his or she could be said

to be acting on behalf of the municipality. Sewell v. Town of Lake Hamilton,

117 F.3d 488, 489 (11th Cir. 1997). While a custom “is a practice that is so settled

and permanent that it takes on the force of law.” Perez at 168 F. App’x at 340.

      Plaintiff appears to claim that his injury resulted from the City’s inadequate

or defective training of its police officers in the use of Tasers and/or use of

force. See, Plt’s Amended Compl. (Doc. 52, ¶ 8). Notwithstanding Plaintiff’s

allegations, his case still fails because he cannot show that a policy or custom

existed that caused the alleged deprivation. APD’s ‘practice, custom or policy”

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is to fully train its officers.

       Although the Supreme Court has held that local government entities are

"persons" within the scope of Section 1983 and are subject to liability, Plaintiff

cannot rely upon the theory of respondeat superior to hold local government

liable. See, Monell v. Dep't of Soc. Servs. of NY, 436 U.S. 658, 692

(1978).      “Congress did not intend [for] municipalities to be held liable unless

deliberate action attributable to the municipality directly caused a deprivation of

federal rights”. Board of County Com’rs v.Brown, 520 U.S. 397, 415

(1997). In fact, rarely will an allegation of failure to train or supervise be the

basis for liability under section 1983. Gold v. City of Miami, 151 F.3d 1346, 1350

(11th Cir. 1998). It is well-settled that a governmental entity is not liable, as a

matter of law, for a failure to train or supervise where there is no notice of

a need. (emphasis added). Id. at 1351; See Wright v. Sheppard, 919 F.2d 665

(11th Cir. 1990). Additionally, where the claim is based on a defendant’s failure

to act or “deliberate indifference,” a plaintiff must show “a background of events

and circumstances” which demonstrates that the complained of policy, practice,

or custom is tantamount to an affirmative decision by the municipality to violate

the constitution. City of Canton, 489 U.S. at 385. Thus, “it is only when the

execution of the government’s policy or custom … inflicts the injury that the

municipality may be held liable.” Id. Furthermore, the deliberate indifference


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must exhibit a need that is so obvious so as to imply the municipality’s lack of

concern for violations of constitutional rights. Gold, 151 F.3d at 1352. This

ensures that a municipality is held liable under Section 1983 only for those

deprivations resulting from the deliberate legislative decisions and demonstrated

practices of the municipality, and not for an isolated incident. McDowell v.

Brown, 392 F.3d 1283, 1289 (11th Cir. 2004).

      In the case at bar, Plaintiff’s evidence at trial is devoid of any relevant

custom, practice or policy which caused his injury. Even if Officer Grubbs used

excessive force (which Defendants absolutely deny), Plaintiff has presented no

evidence that the City of Atlanta was on notice of any need to better train police

officers as to Taser and failed to do so prior to this incident. There is a complete

absence in the record that shows that City of Atlanta was aware of any prior

incidents, similar to the incident of July 10, 2018.

      Going further, Dr. Scott’s, Plaintiff’s expert, testimony stated only

conclusions. The testimony did not show any policy, practice or custom (of any

similar incidents) that would have put the City of Atlanta on notice that even more

training was needed on the Taser.

           i.     Failure To Train

      Any allegation made by Plaintiff of failure to train must fail. Again, this

Court previously dismissed Plaintiff’s respondeat superior claim relating to “torts


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committed by employees”. (Doc. 84). Plaintiff specifically alleges that City of

Atlanta failed to train its police officers on how to handle Tasers. In the Riley v.

Newton, 94 F. 3d 632, 638 (11th Cir. 1996) the Court held:

      …a section 1983 claim for inadequate training exists “only where
      the failure to train amounts to deliberate indifference to the rights of
      persons with whom the police come into contact.” Canton, 489
      U.S. at 388, 109 S.Ct. at 1204. The failure to train must reflect a
      “deliberate” or “conscious” choice and the deficiency “must be
      closely related to the ultimate injury.” Id.at 389, 391, 109 S.Ct. at
      1205, 1206. Failure to train only becomes “deliberate” where “in
      light of theduties assigned to specific officers or employees the
      need for more or different training is so obvious, and the inadequacy
      so likely to result in the violation of constitutional rights, that the
      policy makers of the city can reasonably be said to have been
      deliberately indifferent to the need.” Id. at 390, 109 S.Ct. at
      1205. See Also Belcher v. City of Foley, Alabama, 30 F. 3d 1390,
      1397-98 (11th Cir. 1994).

Supervisory liability must be proven by something more than an allegation

that on a singular occasion officers did not properly apply their training.

See West v. Tillman, 496 F.3d 1321, 1330-1331 (11th Cir. 2007)(citing Pineda

v. City of Houston, 291 F.3d 325, 333 (5th Cir.)). In fact, rarely will an

allegation of failure to train or supervise be the basis for liability under § 1983.

Gold v. City of Miami, 151 F.3d a t 1346, 1350. Again, it is well-settled

that a governmental entity (and its officials) is not liable, as a matter of law, for

a failure to train or supervise where there is no notice of a need. Id. at 1351; See

Wright v. Sheppard, 919 F.2d 665 (11th Cir. 1990).



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      Additionally, where the claim is based on the defendant’s failure to act or

“deliberate indifference”, a plaintiff must show “a background of events and

circumstances” which demonstrates that the complained of policy or custom is

tantamount to an affirmative decision by the [public official]to violate the

constitution. City of Canton, 489 U.S. at 385.

       Plaintiff has made no such showing of a constitutional violation.

Plaintiff’s questioning of APD’s training officers actually demonstrated the

significant amount of training all officers receive regarding use of force and,

specifically, the Taser. With all of this evidence as a backdrop, Plaintiff’s use of

force expert’s (Dr. Scott) unsupported opinions do not overcome this burden.

           ii.    Custom, Practice and/or Pattern

      Although Plaintiff fails to prove that City of Atlanta was either aware, or

reasonably should have been aware of the existence of a pattern and practice of

police officers wrongly using Tasers, this argument will be addressed out of an

abundance of caution. Plaintiff has proven no allegation that a pattern of abuse

existed. Further, the record is completely void of evidence tending to support any

conclusion that City of Atlanta reasonably should have been on notice of such a

pattern. To constitute sufficient notice, the past widespread abuses “must be

obvious, flagrant, rampant, and of continued duration, rather than isolated

occurrences.” Hartley v. Parnell, 193 F.3d 1263, 1269 (11th Cir. 1999).


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      Here, the evidence fails to demonstrate that City of Atlanta was placed on

notice or had any knowledge of any such alleged widespread flagrant abuses

arising out of Defendant Grubbs’ pursuit of Plaintiff and use of his Taser (or, for

that matter, body worn cameras).       Thus, Plaintiff cannot make the requisite

showing.

     Municipal liability may be established by negligent hiring. Bd. Of County

Comm’rs v. Brown, 520 U.S. 397, 415-216 (1997). There is no evidence that

Grubbs’ was prone to using excessive force with a Taser prior to and after being

hired by Defendant APD.

     II.    Plaintiff Is Not Entitled To Punitive Damages As To City of
            Atlanta Because Plaintiff Has Failed To Show Bad-Faith Actions
            By City of Atlanta.

      In Plaintiff’s Amended Complaint (Doc. 52, at 8), Plaintiff requests

punitive damages against Defendant. As a general rule, municipal governments

such as City of Atlanta, are immune from claims of punitive damages actions

under §1983 forthe alleged bad-faith actions of government officials. City of

Newport v. Fact Concerts, Inc., 453 U.S. 247, 271 (1981); see also Young

Apartments, Inc. v. Town of Jupiter, 529 F. 3d 1047 (11th Cir. 2008)

(citing Newport and finding that “[i]n a §1983 action, punitive damages are

only available from government officials when they are sued in their individual

capacities.”).


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       Furthermore,       Georgia’s       general      policy     is    to   shield

 municipalities from claims for punitive damages. See e.g. Scott v. Brown, 2007

 WL 528081, at 2 (N.D. Ga., Feb 9, 2007); McGee v. Barrett, 2006 WL 256918,

 at 9 (N.D. Ga. Aug 31, 2006)(quoting Newport in finding that a plaintiff

 could not recover punitive damages from APD because “a municipality is

 immune from punitive damages under 42 U.S.C. § 1983.”).

       The awarding of punitive damages against a municipality is against public

 policy and impermissible as a matter of law. See Newport, 453 U.S. at 271;

 see also MARTA v. Boswell, 261 Ga.427, 428 (1991). Accordingly, City of

 Atlanta is entitled to dismissal of the punitive damages claims as a matter of law.

                                  CONCLUSION

      For the foregoing reasons, Defendant respectfully requests that this Court

 grant its Motion for Judgment as a Matter of Law.

       Respectfully submitted, this 24th day of August, 2022.
       .
                                                  Respectfully submitted,

                                                    /s/ Staci J. Miller
                                                    Staci J. Miller
                                                    Georgia Bar No.: 601594
City of Atlanta Law Department
55 Trinity Avenue, Suite 5000
Atlanta, GA 30303
404.546.4100
sjmiller@atlantaga.gov



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                                              /s/ James E. Dearing, Jr.
                                              James E. Dearing, Jr.
1596 W. Cleveland Avenue, Suite 102           Georgia Bar. No.: 215090
East Point, GA 30344                          Attorney for Defendants
404.870.0010 / tele
jdearing@jed-law.com




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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

KEITH EDWARDS as Guardian and              )
Conservator Jerry Blasingame,              )
                                           )    CIVIL ACTION FILE NO.
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           Plaintiff,                      )
                                           )
v.                                         )
                                           )
                                           )
OFFICER J. GRUBBS, #6416,                  )
and CITY OF ATLANTA,                       )
                                           )
           Defendants.                     )

                        CERTIFICATE OF SERVICE

     This is to certify that I have this day served a copy of the foregoing
DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW upon
Counsel below via Statutory Electronic Service, properly addressed as follows:

                                Ven R. Johnson
                                Ayanna Hatchett
                              Johnson Law, PLLC
                        535 Griswold Street, Suite 2600
                               Detroit, MI 48226
                        vrjohnson@venjohnsonslaw.com
                         ahatchett@venjohnsonlaw.com

                                 Darren Tobin
                               Tobin Injury Law
                              49B Lenox Point NE
                               Atlanta, GA 30324
                          darren@tobininjurylaw.com



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     This 24th day of August, 2022.
                                              Respectfully submitted,
                                              /s/ Staci J. Miller
                                              Staci J. Miller
                                              Georgia Bar No.: 601594
City of Atlanta Law Department
55 Trinity Avenue, Suite 5000
Atlanta, GA 30303
404.546.4100
sjmiller@atlantaga.gov

                                              /s/ James E. Dearing, Jr.
                                              James E. Dearing, Jr.
1596 W. Cleveland Avenue, Suite 102           Georgia Bar. No.: 215090
East Point, GA 30344                          Attorney for Defendants
404.870.0010 / tele
jdearing@jed-law.com




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